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                            UNITED STATES DISTRICT COURT

                                    DISTRICT OF MAINE

UNITED STATES OF AMERICA                      )
                                              )
               v.                             )   Crim. No. 2:16-cr-00037-NT-003
                                              )
JUAN ANDINO-TIRADO                            )

                        PRELIMINARY ORDER OF FORFEITURE
                                Fed. R. Crim.P. 32.2(b)

        IT IS HEREBY ORDERED THAT:

        1.     As the result of the guilty plea to Counts Two and Three of the Indictment, in

violation of Title 18 United States Code, Section 2, 1951(a) and 924(c)(1)(A)(ii), for which the

United States sought forfeiture, pursuant to Title 18, United States Code, Section 924(d),

981(a)(1)(C) and Title 28, United States Code, Section 2461(c) and Federal Rule of Criminal

Procedure 32.2, the defendant shall forfeit to the United States any and all property used or

intended to be used in any manner or part to commit and to facilitate the commission of the

violation including, but not limited to a Ruger LCP, .380 caliber semiautomatic pistol, bearing

serial number 371102162 and a Smith & Wesson .40 caliber semiautomatic pistol, bearing serial

number HED9916, (“the Property”);

        2.     The Court has determined, based on the defendant's plea and evidence already in

the record that the defendant has an interest in the Property, that the government has established

the requisite nexus between such property and the offense and that the Property is subject to

forfeiture.

        3.     Upon the entry of this Order, the United States is authorized to seize the Property,

whether held by the defendant or by a third party and to conduct discovery proper in identifying,
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locating or disposing of the Property subject to forfeiture, in accordance with Fed.R.Crim.P.

32.2(b)(3).

        4.        Upon the entry of this Order, the United States is authorized to commence any

applicable proceeding to comply with the statutes governing third-party rights, including giving

notice of this Order.

        5.        The United States shall publish notice of the Order and its intent to dispose of the

Property in such manner as the United States may direct. The United States may, to the extent

practicable, provide written notice to any person known to have an alleged interest in the

Property.

        6.        Any person, other than the defendant, asserting a legal interest in the Property

may, within 30 days of the final publication of notice or receipt of notice, whichever is earlier,

petition the Court for a hearing without a jury to adjudicate the validity of his/her alleged interest

in the Property.

        7.        Any petition filed by a third party asserting an interest in the Property shall be

signed by the petitioner under penalty of perjury and shall set forth the nature and extent of the

petitioner's right, title or interest in the Property, the time and circumstances of the petitioner's

acquisition of the right, title or interest in the Property and any additional facts supporting the

petitioner's claim and the relief sought.

        8.        After disposition of any motion filed under Fed.R.Crim.P. 32.2(c)(1)(A) and

before a hearing on the petition, discovery may be conducted in accordance with the Federal

Rules of Civil Procedure upon a showing that such discovery is necessary or desirable to resolve

factual issues.


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       9.      The United States shall have clear title to the Property, following the Court's

disposition of all third-party interests or, if none, following the expiration of the period provided

in Title 21, United States Code, Section 853(n)(2).

       10.     Pursuant to Rule 32.2(b)(3), the Preliminary Order of Forfeiture shall become

final as to the defendant at the time of sentencing or before sentencing if the defendant consents,

and shall be made part of the sentence and included in the judgment.

       11.     The Court shall retain jurisdiction in this case for the purpose of enforcing this

Order and to amend it as necessary, pursuant to Fed.R.Crim.P. 32.2(e).

       12.     The Clerk of the Court shall forward an attested copy of this Order to

Assistant United States Attorney Donald E. Clark, U.S. Attorney's Office, 100 Middle Street,

Portland, ME 04101.

                                                       SO ORDERED,



DATED: January 30, 2017                                /s/ Nancy Torresen_______________
                                                       U. S. District Judge




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